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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 UNITED STATES OF
 AMERICA,

                  Plaintiff,                 Civil Action No.: 4:20-cv-01383-MWB

                                             Electronically Filed
             v.

 GEISINGER HEALTH

 and

 EVANGELICAL
 COMMUNITY HOSPITAL,

                  Defendants.

         CERTIFICATION OF DEFENDANT GEISINGER HEALTH
                   PURSUANT TO 15 U.S.C. § 16(g)
       Pursuant to 15 U.S.C. § 16(g), defendant Geisinger Health states that there were no

written or oral communications by or on its behalf with an officer or employee of the United

States concerning or relevant to the proposed final judgment, other than communications made

by counsel of record alone with employees of the Department of Justice.

       Defendant Geisinger Health certifies that, with this submission, it has complied with the

requirements of 15 U.S.C. § 16(g) and that this submission is a true and complete description of

communications known to Geisinger Health or that Geisinger Health reasonably should have

known that are required to be reported pursuant to that provision.
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Dated: March 12, 2021                   Respectfully submitted,

                                        /s/ Stephen Y. Wu
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                                        and

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                                        Attorneys for Geisinger Health




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                                CERTIFICATE OF SERVICE

             I, Stephen Y. Wu, hereby certify that on March 12, 2021, I electronically

filed the foregoing Certification of Defendant Geisinger Health Pursuant to 15

U.S.C. § 16(g) through the Court’s CM/ECF system. I certify that all participants in

the case are registered CM/ECF users and that service will be accomplished by the

CM/ECF system.



                                                /s/ Stephen Y. Wu
                                                Stephen Y. Wu
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